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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA


DONALDSON COMPANY, INC.,                                   Case No. 09-CV-1049 (PJS/AJB)

               Plaintiff,

v.                                                         ORDER OF DISMISSAL

BALDWIN FILTERS, INC.,

               Defendant.


       Based upon the Stipulation for Dismissal filed by the parties on February 1, 2012 [Civil

Docket No. 174],

       IT IS ORDERED that this action is dismissed with prejudice and on the merits, without

costs or disbursements to any party.

Dated: February 2, 2012                              s/Patrick J. Schiltz
                                                    Patrick J. Schiltz
                                                    United States District Judge
